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                         Exhibit A
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION


  R2 Solutions LLC,
                                            Civil Action No. 4:23-cv-01147-ALM
        Plaintiff,

  v.                                                Jury Trial Demanded

  Databricks, Inc.,

        Defendant.




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                                     SCHEDULING ORDER

        It is hereby ORDERED, after consultation with the parties, that the following scheduling

 will apply in this case:

  Model Order Date          Proposed Date       Event
  June 11, 2024 at                              Case Management Conference at Paul Brown
  10:00 a.m.                                    United States Courthouse, 101 E. Pecan Street,
                                                Sherman, Texas. Counsel for each party, with
                                                authority to bind their respective clients, and all
                                                unrepresented parties, shall be present.
                                                Continuance of the management conference will
                                                not be allowed absent a showing of good cause.


  June 21, 2024                                 P.R. 3-1 Disclosure of Asserted Claims and
                                                Infringement Contentions (and P.R. 3-2 document
  [10 days after Mgmt.
                                                production) to be served.
  Conf.]
  July 16, 2024                                 Join Additional Parties.
  [5 weeks after
  Mgmt. Conf.]
  TBD at Mgmt.                                  Mediation. The Court will discuss appointing a
  Conf.                                         mediator at the Scheduling Conference.


  July 16, 2024                                 P.R. 3-3 Invalidity Contentions (and P.R. 3-4
                                                document production) to be served. To extent not
  [5 weeks after
                                                already required to be disclosed, exchange
  Mgmt. Conf.]
                                                Mandatory Disclosures on all issues, including
                                                damages.
  July 16, 2024                                 Parties to exchange Initial Disclosures under
                                                FRCP 26(a).
  [5 weeks after
  Mgmt. Conf.]


  July 26, 2024                                 Parties to exchange proposed terms for
                                                construction and identify any claim element
  [No later than 45
                                                governed by 35 U.S.C. § 112, ¶ 6 (P.R. 4-1).
  days after Mgmt.
  Conf.]


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  Model Order Date     Proposed Date       Event
  July 30, 2024                            Privilege Logs to be exchanged by parties (or a
                                           letter to the Court stating that there are no
  [7 weeks after
                                           disputes as to claims of privileged documents).
  Mgmt. Conf.]
  August 15, 2024                          Parties to exchange preliminary proposed claim
                                           construction and extrinsic evidence supporting
  [No later than 65
                                           same (P.R. 4-2).
  days after Mgmt.
  Conf.]
  September 10, 2024                       Parties’ Final Amended Pleadings (a motion for
                                           leave is required).
  [13 weeks after
  Mgmt. Conf.]


  September 13, 2024                       Joint Claim Construction and Prehearing
                                           Statement to be filed (P.R. 4-3). Provide an
  [No later than 95
                                           estimate of how many pages are needed to brief
  days after Mgmt.
                                           the disputed claims.
  Conf.]

  October 1, 2024                          Respond to Amended Pleadings.
  [16 weeks after
  Mgmt. Conf.]


  October 14, 2024                         Completion date for discovery on claim
                                           construction (P.R. 4-4).
  [No later than 125
  days after Mgmt.
  Conf.]


  October 29, 2024                         Opening claim construction brief (P.R. 4-5(a)).
  [No later than 140
  days after Mgmt.
  Conf.]




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  Model Order Date        Proposed Date         Event
  November 4, 2024                              Submit technology synopsis/tutorial (both hard
                                                and electronic copies).
  [4 weeks before
  claim construction
  hearing]


  November 12, 2024                             Responsive claim construction brief (P.R. 4-5(b)).
  [No later than 2
  weeks after claim
  construction brief]
  November 19, 2024                             Reply claim construction brief (P.R. 4-5(c)).
  [No later than 7 days
  after response]
  November 22, 2024                             Parties to file joint claim construction and chart
                                                (P.R. 4-5(d)). Parties shall work together to agree
  [At least 10 days
                                                on as many claim terms as possible.
  before claim
  construction
  hearing]
                          December 9, 2024      Deadline for substantial completion of document
                                                production.
  December 2, 2024        December 9, 2024 at   Proposed Claim Construction Hearing at the
  at 1:30 p.m.            1:30 p.m.             Paul Brown United States Courthouse, 101 E.
                                                Pecan Street, Sherman, Texas 75090.
  January 6, 2025                               Deadline for Initial Mandatory Disclosure of all
                                                persons, documents, data compilations and
                                                tangible things, which are relevant to a claim or
                                                defense of any party and which has not
                                                previously been disclosed. This deadline is not an
                                                extension of earlier deadlines set out in this
                                                court’s order or the Patent Rules, nor an excuse to
                                                delay disclosure of information. It is a “catchall”
                                                deadline for provision of all remaining
                                                information which may be relevant to a claim or
                                                defense of any party at trial.
                          January 20, 2025      Fact Discovery Deadline and Deadline to File
                                                Motions to Compel related to Fact Discovery. All
                                                discovery must be served in time to be completed
                                                by this date.


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  Model Order Date       Proposed Date       Event
  February 3, 2025       January 27, 2025    Parties with burden of proof to designate Expert
                                             Witnesses other than claims construction experts
  [9 weeks after claim
                                             and provide their expert witness reports, to
  construction
                                             include for ALL experts all information set out in
  hearing]
                                             Rule 26(a)(2)(B).
  February 3, 2025                           Comply with P.R. 3-7 (Designation of
                                             Willfulness Opinions).
  [9 weeks after claim
  construction
  hearing]
  February 17, 2025                          Parties to Designate Expert Witnesses on issues
                                             for which the parties do not bear the burden of
  [11 weeks after
                                             proof, and provide their expert witness report, to
  claim construction
                                             include for ALL experts all information set out in
  hearing]
                                             Rule 26(2)(B).
                                             Note: Objections to any expert, including
                                             Daubert motions, shall be filed within 3 weeks
                                             after the expert’s Report has been disclosed.
                                             Such objections and motions are limited to ten
                                             pages each.
  March 3, 2025                              Expert Discovery Deadline.
  [13 weeks after
  claim construction
  hearing]
  March 3, 2025          March 13, 2025      File Dispositive Motions and any other motions
                                             that may require a hearing. Regardless of how
  [13 weeks after
                                             many dispositive motions a party files, each party
  claim construction
                                             is limited to a total of sixty pages for such
  hearing (no later
                                             motions. Each individual motion shall comply
  than 110 days prior
                                             with Local Rule CV-7.
  to the filing of the
  Joint Final PTO)]                          Responses to motions shall be due in
                                             accordance with Local Rule CV-7(e).
  June 16, 2025                              Notice of intent to offer certified records.
  [5 weeks before
  final pretrial
  conference]




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  Model Order Date        Proposed Date       Event
  June 16, 2025                               Counsel and unrepresented parties are each
                                              responsible for contacting opposing counsel and
  [5 weeks before
                                              unrepresented parties to determine how they will
  final pretrial
                                              prepare the Joint Final Pretrial Order
  conference]
                                              (See www.txed.uscourts.gov) and Proposed Jury
                                              Instructions and Verdict Form (or Proposed
                                              Findings of Fact and Conclusions of Law in
                                              nonjury cases).
  June 23, 2025                               Serve Pretrial Disclosures (Witness List,
                                              Deposition Designations, Exhibit Lists, and
  [4 weeks before
                                              Video Deposition Designation) by the Party with
  final pretrial
                                              the Burden of Proof. Each party who proposes to
  conference]
                                              offer a deposition shall serve on all other parties a
                                              disclosure identifying the line and page numbers
                                              to be offered. All other parties will have seven
                                              calendar days to serve a response with any
                                              objections and request cross- examination line
                                              and page numbers to be included. Counsel must
                                              consult on any objections, and only those which
                                              cannot be resolved shall be presented to the
                                              Court.
                                              The party who filed an initial Video Deposition
                                              Designation is responsible for preparation of the
                                              final edited video in accordance with all parties’
                                              designations, the applicable Federal Rules of
                                              Civil Procedure, and the Court’s rulings on
                                              objections.
                          July 7, 2025        Serve Objections to Pretrial Disclosures; and
                                              Serve Rebuttal Pretrial Disclosures.
                          July 14, 2023       Serve Objections to Rebuttal Pretrial Disclosures.
  June 20, 2025                               Motions in limine due.
  [30 days before final                       File Joint Final Pretrial Order.
  pretrial conference]                        Exchange Exhibits and deliver copies to the
                                              court. At this date all that is required to be
                                              submitted to the court is a hyperlinked exhibit list
                                              on disk (2 copies) and no hard copies.




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  Model Order Date       Proposed Date       Event
  July 7, 2025                               Responses to motions in limine due.
  [2 weeks before                            File objections to witnesses, deposition extracts,
  final pretrial conf]                       and exhibits, listed in pre-trial order. (This does
                                             not extend the deadline to object to expert
                                             witnesses). If numerous objections are filed the
                                             court may set a hearing prior to the final pretrial
                                             conference.
                                             File Proposed Jury Instructions/Form of Verdict
                                             (or Proposed Findings of Fact and Conclusions of
                                             Law).
                                             If Parties will be requesting daily copy of the
                                             transcript during trial, they must notify the
                                             Court’s court reporter, Chris Bickham,
                                             Chris_Bickham@txed.uscourts.gov, by this date.
  July 21, 2025 at                           Final Pretrial Conference at the Paul Brown
  1:30 p.m.                                  United States Courthouse, 101 E. Pecan Street,
                                             Sherman, Texas 75090.

  TBD – 10:00 a.m.                           Jury Selection and Trial at the at the Paul
                                             Brown United States Courthouse, 101 E. Pecan
                                             Street, Sherman, Texas 75090.




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